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                               EXHIBIT 177
  Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 2 of 73. PageID #: 139666




Optimizing Chronic Pain Management
               with




   Janssen Pharmaceutica Products, L.P.
            Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 3 of 73. PageID #: 139667




  Duragesic Patient Selection
                          ®




  • A first-line choice for:
     – Patients with chronic, moderate–to-severe
       pain who cannot be managed by lesser
       means such as acetaminophen-opioid
       combinations, nonsteroidal analgesics, or as-
       needed dosing with short-acting opioids

       – Patients who require around-the-clock
         opioids



(Adapted from Duragesic PI, 2001)
            Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 4 of 73. PageID #: 139668




  Duragesic Contraindications
                          ®



   • Because serious or life-threatening hypoventilation can
     occur, Duragesic is contraindicated
        – in the management of acute or postoperative pain, including
          use in outpatient surgeries
        – in the management of mild or intermittent pain responsive
          to prn or nonopioid therapy
        – in doses exceeding 25 mcg/h at the initiation of opioid
          therapy in opioid-naïve patients
   • Duragesic should not be administered to children under
     12 years of age or patients under 18 years of age who
     weigh less than 50 kg (110 lb) except in an authorized
     investigational research setting (see
     Precautions–Pediatric Use)
   • The 50, 75, and 100 mcg/h dosages should be used only
     in patients who are already on and are tolerant of opioid
     therapy
(Duragesic PI, 2001)
          Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 5 of 73. PageID #: 139669




  Dr. Paul Janssen, Pain Pioneer
• Dr. Paul Janssen, Belgian
  physician and prolific researcher,
  is a pioneer in pain management
• 1953: Janssen Pharmaceutica
  founded with a mission to
  develop new medicines,
  particularly analgesics
• 1960: Fentanyl developed by Dr. Janssen
• 1983: Transdermal delivery systems developed
• 1991: Duragesic® launched, delivering the
  potency of fentanyl analgesia through slow, safe
  transdermal delivery
  (Schwartz, 1989)
            Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 6 of 73. PageID #: 139670

  Advantages of Fentanyl in the
  Duragesic Patch        ®



                Science                                        Clinical Significance
 Fentanyl is a small, lipophilic                    Able to pass through patch
 molecule1                                          release membrane and form a
                                                    depot in skin1
                                  Fentanyl passes readily across
                                  the blood-CNS barrier1
 Fentanyl is 75 – 100 times       Only microgram amounts of
 more potent than morphine   1
                                  fentanyl is needed for analgesia1
 Fentanyl has no active           No active metabolites to
 metabolites in contrast to other accumulate with chronic dosing
 opioids1
                                  Oxycodone and morphine sulfate
                                  have active metabolites that may
                                  accumulate with chronic dosing
 Fentanyl transdermal patch       Favorable side-effect profile2
 bypasses the GI tract

(1. Jeal, 1997; 2. Slappendel, 1994; 3. OxyContin PI, 2001; 4. MS Contin PI, 2000)
           Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 7 of 73. PageID #: 139671




 Fentanyl Metabolism
          Science                                       Clinical Significance
Fentanyl has no active             No active metabolites to accumulate with
metabolites in contrast            chronic dosing
to other opioids1                  Oxycodone and morphine sulfate metabolites
                                   may accumulate with chronic dosing
Fentanyl is metabolized            Fentanyl is not an inducer or inhibitor of liver
in the liver by the                enzymes
CYP450 3A4 enzyme1
                                   CYP450 3A4 inhibitors (e.g., macrolide
                                   antibiotics, azole antifungals and protease
                                   inhibitors) may decrease fentanyl clearance
                                   rate, so patients should be monitored and
                                   dose adjusted if necessary2

                                   Fentanyl does not interfere with drugs
                                   requiring CYP450 2D6 metabolism (e.g.,
                                   SSRIs, quinine). Oxycodone requires CYP450
                                   2D6 metabolism3
(1. Jeal, 1997; 2. Duragesic PI, 2001; 3. OxyContin PI, 2001)
           Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 8 of 73. PageID #: 139672




 Advantages of Transdermal Delivery
                Science                                         Clinical Significance
Fentanyl depot in upper layers                      Up to 3 days of pain relief1
of skin permits sustained,                          Consistent serum levels1
gradual release directly into
systemic circulation1
Minimizes peaks and troughs,                        Few night-time awakenings2
compared to opioids dosed                           Less daytime drowsiness3
every 4, 6, 8, or 12 hours1                         Improved morning vigilance3

Fentanyl enters directly into                       Improved bioavailability over
systemic circulation:                               oral opioid formulations1
No GI transit1                                      Low incidence of constipation4
No first-pass metabolism in
liver1

(1. Jeal, 1997; 2. Simpson, 1997; 3. Ahmedzai, 1994; 4. Slappendel, 1994)
           Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 9 of 73. PageID #: 139673

  Duragesic : Fentanyl Transdermal System
                      ®


  Delivers fentanyl direct to circulation

                               Fentanyl gelled with
                              Hydroxyethylcellulose
                              in drug reservoir
                                                                                Fentanyl in
                                                                                controlled
        Backing                                                                 release
                                                                                membrane
Adhesive


Fentanyl                                                                            Fentanyl
depot                                                                               direct to
in skin                                                                             systemic
                                                                                    circulation
(Adapted from 1. Jeal, 1997; 2. Southam, 1995)
        Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 10 of 73. PageID #: 139674




Pathway for Fentanyl Absorption
                                                             Backing
           Transdermal
               drug                                          Reservoir of drug
             delivery
              device                                         Microporous membrane
                                                             Contact adhesive
                                                             Stratum corneum
                                  Viable
                                 Epidermis
                 Skin
                                                             Cutaneous
                                                             microcirculation
                                Dermis
 Subcutaneous
    tissue                                                   Systemic
                                                             circulation

                                  Subdermal
                                   Tissue
(1. Varvel JR 1989; 2. Jeal W, 1997)
        Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 11 of 73. PageID #: 139675




Pharmacokinetics of Duragesic                                                 ®




Duration of action                                Half-life
   72 hours                                             Approximately 17 hours1
   Some patients require                  48-           Allows serum drug level to
   hour dosing1                                         remain steady while
                                                        patches are changed
Peak serum concentrations                         Steady-state
   24-72 hours1                                         After several sequential
                                                        patch applications1

Onset of action                                   Metabolized in liver
   Serum levels increase                          primarily to norfentanyl
   gradually, leveling off                        (inactive metabolite)2
   between 12 and 24 hours1                       Primarily renal excretion1

(1. Duragesic PI, 2001; 2. Jeal, 1997)
  Steady-State             Mean Serum Concentrations for
        Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 12 of 73. PageID #: 139676


  72 Hrs After Multiple DURAGESIC® 100 mcg/h
  Applications
         Serum Fentanyl Concentration (ng/mL)


                                                4                              Duragesic 100 mcg/h



                                                3


                                                2


                                                1


                                                0

                                                    0   12    24      36      48     60     72
(Southam, 1995)                                              Time Post-Application (h)
              Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 13 of 73. PageID #: 139677



 Duragesic : Metabolism and Effects
                           ®



      Skin            Circulation                 CNS                       Liver                 Kidney




Feature
Fentanyl            Fentanyl enters         Fentanyl passes          No first-pass liver      Inactive
absorbed from       circulation directly;   readily through          metabolism1              metabolites
patch into skin;    by passes GI tract1     blood-CNS barrier.                                eliminated by
slowly released                             Fentanyl is a pure                                kidney3
into circulation1                           mu receptor
                                            agonist2
Clinical Significance
Up to 72 hours   Low incidence of           Few side effects           No accumulation of active
of pain relief ; constipation (14%)2        associated with            metabolites
minimizes peaks                             interactions with
and troughs1                                other receptors 2
                                                                       (1. Southam, 1995; 2. Jeal, 1997;
                                                                        3. Duragesic PI, 2001)
          Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 14 of 73. PageID #: 139678




 Drug Delivery Systems And Abuse

• Route of administration and rate of action affect
  abuse potential1
• Rapid action gives strong effect and raises abuse
  liability
     –Smoked or injected drugs reach the brain rapidly1
     –“Crushed or chewed sustained release tablets will
      release all their contents at once, resulting in a
      risk of fatal overdose”2
     –Transdermal delivery produces gradual absorption
      and clearance,3 drug takes longer to reach the
      brain

 (1. Mathias, 1997; 2. OxyContin PI, 2000; 3. Jeal, 1997.)
                                     Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 15 of 73. PageID #: 139679

Misuse Potential of Opioids: A 3-Year
Retrospective Review
                                                  Short-acting opioids
  Ratio of misuse/appropriate use




                                    5.0       4.4                                   Long-acting opioids
                                    4.5
                                    4.0
                                    3.5
                                    3.0              2.5
                                    2.5
                                    2.0                     1.61 1.45 1.35
                                    1.5                                              0.73 0.66
                                    1.0                                                               0.23 0.08
                                    0.5
                                    0.0
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                    (Mironer, 2000)
         Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 16 of 73. PageID #: 139680

Opioid Mentions in Drug Abuse Warning
Network (DAWN) Reports, 1990-96
DAWN recorded illicit drug-use incidents resulting in
ER Visits at ~500 Urban Hospitals
• Opioids surveyed: fentanyl (all formulations),
  hydromorphone, meperidine, morphine,
  oxycodone
• Opioids accounted for <4% of total DAWN
  mentions
• Opioid drug mentions decreased by 25% from
  1990 to 1996
• Year 2000 update shows increase in oxycodone
  mentions to 10,800 (1.8% of total) compared to
  291 fentanyl mentions (.05% of total)
(Joranson DE, 2000; DAWN, 2000)
                 Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 17 of 73. PageID #: 139681




    Medi-Cal Retrospective Database Review
               Actual, real-world data shows higher prescriptions relative to PI
           0                                                   6
                                                                                            +160%
                                                               5
           1
                                       +55%                    4                     +80%
                       +36%                   +30%                                                     +70%
 No. of    2                                            Tablets            +55%
Days per                       +18%                      per        +45%
 Patch
               +12%                                      Day 3

           3
                                                               2

                 2.7     2.2    2.6     2.0     2.3
           4                                                    1    2.9    3.1       3.6     5.2      3.4



           5                                                   0
               25 mcg 50 mcg 75 mcg 100 mcg All doses               10mg   20mg     40mg     80mg    All doses

                       DURAGESIC        ®                                    OxyContin®
      * Based on 98,344 Medi-Cal prescriptions for malignant or nonmalignant pain between
      January 1, 1997, and August 31, 1999. Percentage difference between actual and
      recommended number of units per day is shown above the bars.

      (Malkin JD, In press)                                                 Red line indicates PI recommendation.
      Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 18 of 73. PageID #: 139682



Duragesic Benefits: Summary
                   ®




• Long duration of action (up to 3 days)
• Around-the-clock analgesia
• Opioid absorbed directly into circulation, no
  gastrointestinal transit, no first pass through liver
      — Favorable side-effect profile
      — Low incidence of constipation
      — No active metabolites
• In 10 years of use, low and stable reported rate of
  abuse
Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 19 of 73. PageID #: 139683




               Duragesic                            ®


         Application and Dosing
             Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 20 of 73. PageID #: 139684
 Duragesic : A First-Line Choice for Chronic
                         ®


 Around-the-Clock Opioid Therapy

  • Consider as first-line for patients with moderate-
    to-severe chronic pain who require continuous
    opioid analgesia:
  • Degenerative joint disease1
    –
      Chronic back pain1,2
    –
      Cancer pain4,5,6
    –
      Has been shown to be effective in certain
      cases of chronic neuropathic pain2,3



(1. Allan, 2001; 2. Rowbotham, 1999; 3. Dellemijn, 1997; 4. Payne, 1998; 5. Ahmedzai, 1997;
6. Duragesic PI, 2001)
       Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 21 of 73. PageID #: 139685



4-Step Duragesic Dosing Algorithm       ®




1. Determine appropriate Duragesic starting dose

2. Anticipate and manage side effects

3. Treat breakthrough pain; individualize therapy by
   titrating to pain relief

4. Monitor need for dose increase
         Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 22 of 73. PageID #: 139686

Step 1:
Determine Duragesic Starting Dose                    ®




   •   Calculate total daily dose of previously used
       opioid
   •   Use Duragesic dosage calculator or charts on
       following slides to convert to corresponding
       Duragesic dose
   •   Use no greater than 25 mcg/h in opioid-naïve
       patients
   •
       Prescribe a short-acting opioid for possible
       breakthrough pain


(Adapted from Duragesic PI, 2001)
            Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 23 of 73. PageID #: 139687




  Starting Duragesic                              ®



   •
       During initial application, prescribe a short-
       acting analgesic for pain coverage until
       analgesic efficacy with Duragesic is attained
   • Initial dose may be increased after 3 days
   • Allow approximately 6 days (2 patch
     applications) for serum levels to reach steady
     state before making further dose increases
   •
       Do not use doses greater than 25mcg/h in
       elderly, cachetic, or debilitated patients, unless
       they are already taking more than 135 mg/d of
       oral morphine or the equivalent of another
       opioid
(Duragesic PI, 2001)
          Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 24 of 73. PageID #: 139688

Duragesic Starting Dose Conversion
                       ®


Chart
            Prior Regimen                                          Duragesic Regimen
Fixed-combination short-acting
opioids (6/day):
    – Lorcet 5 mg/500 mg                                                One 25 mcg/h
    – Lortab 5 mg/500 mg                                                 Duragesic
    – Percocet 5 mg/325 mg                                                  patch
    – Percodan 5 mg/325 mg                                            once every 3 days
    – Tylenol + Codeine 30 mg/325 mg                                     (72 hours)
    – Tylox 5 mg/500 mg
    – Vicodin 5 mg/500 mg



(Adapted from Duragesic PI, 2001)
         Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 25 of 73. PageID #: 139689

Duragesic Starting Dose Conversion
                      ®


Chart
       Prior Regimen                                         Duragesic Regimen

Long-acting opioids(2/day)
                                                                  One 25 mcg/h
      OxyContin 20 mg                                               Duragesic
      MS Contin 30 mg                                                 patch
                                                                once every 3 days
                                                                   (72 hours)

Multiple patches may be used for doses exceeding
100 mcg/h. Doses up to 6oo mcg/h have been
evaluated in clinical trials.

(Adapted from Duragesic PI, 2001)
        Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 26 of 73. PageID #: 139690



Goals of Opioid Titration - 1
• Dose titration over time is critical to
  successful Duragesic therapy
• Gradually increase dose until pain relief is
  adequate or until unacceptable side effects
  occur
• A “correct” dose is one that best controls
  the pain without unacceptable side effects
• Responsiveness of an individual patient to
  a specific drug varies
(1. Portenoy 1997; 2. Mercadante, 2001)
       Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 27 of 73. PageID #: 139691



Goals of Opioid Titration – 2
• There is no ceiling dose for opioids.
  Titrate the dose upward to obtain
  maximum pain relief without unacceptable
  side effects. Always prescribe rescue
  medication for breakthrough pain.
• If a patient does not respond well on one
  opioid, it is important to try another.
• Set the patient’s goals and expectations
  properly at the outset of therapy

  (Passik, 1998)
  Teach the Three P’s of Duragesic® Patch
             Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 28 of 73. PageID #: 139692



  Application
                            1. PREPARE: Choose a site to apply patch on the
                               chest, back, or any flat part of the body where
                               there is little or no hair. If there is hair, do not
                               shave (shaving irritates skin). Instead, clip
                               hair as close to the skin as possible. Clean
                               application site with clear water only. Pat skin
                               completely dry. Do not apply anything to skin
                               (lotions, oils, etc) before applying the patch

                                       2. PEEL: Peel the liner from the back of the
                                       patch



                                        3. PRESS: Patch on skin with palm of your
                                        hand and hold there for a minimum of
                                        30 seconds, making sure it sticks well,
                                        particularly at the edges.

(Duragesic Patient Instructions, 2000)
Step 2:
       Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 29 of 73. PageID #: 139693




Anticipate and Manage Side Effects

       Problem                                Clinical Experience
  Nausea/Vomiting Use antiemetics as needed
         Itching                     Prescribe antihistamines as
                                     needed
        Sedation                     Tolerance to side effects
                                     usually develops within a few
                                     days
     Constipation                    Start a bowel regimen


 (1. Brookoff D, 2000; 2. Duragesic PI, 2001)
Adverse Experiences with Duragesic
          Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 30 of 73. PageID #: 139694
                                                                                              ®


in Patients with Cancer (n=153)*
Adverse Experience                         Incidence                       Discontinued
Nausea                                           23%                                6%
Vomiting                                         22%                                3%
Somnolence                                       17%                                2%
Constipation                                     14%                                0%
Diaphoresis                                      14%                                0%
Dry mouth                                        13%                                0%
Confusion                                        13%                                1%
Asthenia                                         12%                                0%
Anorexia                                          8%                                1%
Dizziness                                         7%                                0%
Nervousness                                       6%                                0%
*Patients were also receiving other regimens, including chemotherapy and radiation.
 (Adapted from Duragesic PI, 2001)
Step 3:
      Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 31 of 73. PageID #: 139695


  Individualize Treatment: Titrate to Pain
  Relief Based on Breakthrough Medication Use
 Note the amount of breakthrough medication used. If
 appropriate, titrate Duragesic® according to this chart:
        Oral opioid             Breakthrough med           Recommended
                                  used (mg/24h)              increase
 codeine                               300                   Add
 oxycodone                              45                 25 mcg/h
 hydrocodone                            45
                                                           Duragesic
 hydromorphone                          12                   (add patch or
 morphine                               90                 change to higher
                                                             dose patch)


(Adapted from Duragesic PI, 2001)
             Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 32 of 73. PageID #: 139696
 Step 4:
 Monitor Need for Dose Increase
    • Duragesic® is available in 25, 50*, 75*, and
      100* mcg/h dose strength
    • Multiple patches may be used for doses exceeding
      100 mcg/h (doses up to 600 mcg/h have been
      administered in clinical trials)
          1. Duragesic should be prescribed every 72
          hours
          2. If pain relief is insufficient or declines
             before 72 hours, an increase in dose
             should be evaluated before using 48-
             hour dosing
              - A small number of patients may
                require 48-hour dosing
*For use in opioid-tolerant patients only.
(Duragesic PI, 2001)
         Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 33 of 73. PageID #: 139697




Duragesic : Troubleshooting Problems
                       ®



Patch loosens                       Press in place for at least 30 seconds
                                    Secure patch with first-aid tape
Patch falls off                     Immediately replace with a NEW patch on
                                    new skin site; replace new patch in 3 days
Patient requires more               Use multiple patches; doses up to 600
than 100 mcg/h                      mcg/h have been used in clinical trials

Pain relief declines                First evaluate increased dose, then
before 72 hours                     consider 48-hour dosing

Fever                               At 104ºF body temperature, absorption
                                    may increase by approximately one third;
                                    Use with caution in patients with fever;
                                    Dose should be adjusted if necessary
Direct heat                         Avoid applying direct external heat source
                                    to patch (i.e., heating pad, electric blanket)
                                    because heat can increase fentanyl uptake
(Duragesic PI, 2001)
Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 34 of 73. PageID #: 139698




                  Duragesic                         ®


              Safety and Efficacy
     Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 35 of 73. PageID #: 139699




Duragesic : Proven Safety and Efficacy
                  ®




• 11 years of clinical experience since 1991
  introduction
• Clinical trial results in malignant and non-
  malignant pain
 Randomised         Crossover Trial: Transdermal Fentanyl
       Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 36 of 73. PageID #: 139700


 and Sustained Release Oral Morphine for Treating
 Chronic Non-Cancer Pain



                                              P<0.001
                      70        65%
                      60
                      50
         % Patients




                      40
                                                        28%
                      30
                      20
                      10
                                                                           N=212
                       0                                              non-malignant pain
                           Prefer Duragesic        Prefer SROM
(Allan,     2001)
 (Allan 2001)
 Randomised         Crossover Trial: Transdermal Fentanyl
       Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 37 of 73. PageID #: 139701

 and Sustained Release Oral Morphine for Treating
 Chronic Non-Cancer Pain: Allan, 2001

• Pain Control
     • Duragesic-treated patients had lower mean pain
       intensity scores than those treated with sustained
       release morphine (p<0.001)
     • More patients treated with Duragesic considered their
       pain control to be “good” or “very good” (35% vs 23%,
       p=0.002)
     • Global efficacy assessed by patients as “good” or “very
       good”
                – 60% (Duragesic) vs 36% (SRM), p<0.001
     • Investigators’ assessed efficacy of fentanyl as “good”
       or “very good”
                – 58% (Duragesic) vs 33% (SRM), p<0.0001



(Allan, 2001)
      Evaluation      of Long-Term Efficacy and Safety:
           Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 38 of 73. PageID #: 139702


      Transdermal Fentanyl in the Treatment of
      Noncancer Pain: Milligan, 2001
      Among chronic Non-Malignant Pain Patients During Months of
      Duragesic® Therapy (n=421 eligible patients)*
             80
             70
                            282
                                                                               n=375*
             60
                                                                         Non-malignant pain
             50             67%
Patients %




             40
             30
             20
                                                           47                          46
             10
                                               11%        11%                         11%
              0
                     Strongly Preferred              Indifferent           Strongly Preferred or
                        or Preferred                                     Preferred Previous Opioid

         (Milligan, 2001)                             46 patients (11%) did not state preference
                 Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 39 of 73. PageID #: 139703

    Duragesic : Provides Better Functioning
                              ®


    and Fewer Side Effects: Payne, 1998
               Duragesic higher
                 satisfaction
                   P=0.035
          80
                                      Duragesic
          70                            better
                                     functioning
          60
Score




                                       P=0.001
                                                          Duragesic                 Duragesic
          50                                              fewer side
                                                            effects
          40                                               P<0.001
                                                                                    CR Morphine
          30                                                                              N=504
                                                                                      malignant pain
          20
                 Satisfaction       Functioning          Side Effects
                             Quality of Life Domain

        (Payne R, 1998)
               Transdermal Fentanyl versus Sustained-Release Oral
                       Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 40 of 73. PageID #: 139704


               Morphine in Cancer Pain: Preference, Efficacy, and
               Quality of Life: Ahmedzai, 1997

               90
               80
               70                           p=0.037
               60                 54
(%) Patients




               50
               40                                                36
               30
               20
                                                                                                10
               10
                0
                           Preferred                       Preferred                  No preference
                           Duragesic                       morphine
                                                                                                     N=136
                                                                                                 malignant pain
               (Ahmedzai, 1997)
            Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 41 of 73. PageID #: 139705

  Management of Chronic Pain With Duragesic®
  in Palliative Home and Hospice Care: 3 Studies
Studies            Demographics                    Results
Woodroffe,         n=48                            80% reported good analgesia
Hays (1997)
                   Ages: 29-82 yrs                 17% discontinued due to nausea
Baumrucker         2 patient case reports Pt 1: “Good results”: “satisfied” with pain
                                          regimen; constipation easily treated
(1996)             Ages: 50-70 yrs
                                          w/bowel regimen
                                                   Pt 2: “Comfortable”
O’Siorain          5 patient case reports Pt 1: Pain “well-controlled”
(1998)             Ages: 69-89                     Pt 2: “Excellent” pain relief;
                                                   no unpleasant adverse effects
                                                   Pt 3: “Well-controlled” pain; “reasonably
                                                   comfortable”
                                                   Pt 4: Good pain control and well
                                                   tolerated; eventually discontinued patch
                                                   for IV morphine
                                                   Pt 5: “Good” pain relief; more alert
           Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 42 of 73. PageID #: 139706

 Transdermal Fentanyl as Treatment for
 Low Back Pain

                                                                    86% of
                                                                    patients
                                                                    experienced
                                                                    overall
                                                                    benefit




• All patients who experienced overall benefit from transdermal fentanyl
  would recommend it to others with chronic low back pain
• Patients assessed therapy based on parameters of pain control,
  disability as it related to activities of daily living, and quality of sleep.

 (Simpson, 1997)
      Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 43 of 73. PageID #: 139707

Duragesic Delivers Safe, Effective
                   ®


Therapy for Chronic Pain
• Duragesic’s duration of action is up to 72 hours
      – Around-the-clock analgesia
      – Minimizes peaks and troughs
• Opioid absorbed directly into circulation, no
  gastrointestinal transit, no first pass through liver
      – Favorable side-effect profile
      – Low incidence of constipation
      – No active metabolites, fewer drug
        interactions
      – Consistent serum levels
• In 11 years of use, very rare reports of abuse
Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 44 of 73. PageID #: 139708




               Pathophysiology
                of Chronic Pain
  Pain-Sensing System Malfunction in
           Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 45 of 73. PageID #: 139709



  Chronic Pain

  Pain                                                                Normal pain:
 Sensing                                                              Pain-sensing signals
                                                                      are initiated in
                                                                      response to a stimulus
In chronic                                                             • They elicit a pain-
pain, pain                                                               relieving response
signals are
generated                                                             Chronic pain:
without                                                               Pain signals are
physiologic
significance                                                          generated for no
                                                                      reason and may be
                                                                      intensified
                                                                        • Pain-relieving
                                                                          mechanisms may be
                                                                          defective or
                                                                          deactivated


 Illustration: Seward Hung
          Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 46 of 73. PageID #: 139710




  Pathogenesis of Chronic Pain
                                           Injury

                              Pain and inflammation


                                  Injury heals
                            but pain signals continue

                        Structural CNS changes alter
                            neural transmission



       Chronic pain                                    Allodynia
                              Hyperalgesia                               Spread of pain
(Adapted from Marcus, 2000)
 Duragesic , Pain Relief and Opioid
          Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 47 of 73. PageID #: 139711
                         ®


 Receptors

                                                              • Fentanyl from the
                                                                Duragesic patch binds
Nerve cell                                                      to mu opioid receptors
                                                                on pain-sensing nerve
                                                                cells
                             μ
                                                              • Transmission of pain
                                                                signals to the dorsal
                                                                horn of the spinal cord
                                                                is blocked




Illustration: Seward Hung
        Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 48 of 73. PageID #: 139712



Chronic Pain Pathophysiology
 • The nervous system remodels continuously in
   response to repeated pain signals
    – Nerves become hypersensitive to pain
    – Nerves become resistant to anti-nociceptive
      system
 • If untreated, pain signals will continue even
   after injury resolves
 • Chronic pain signals become embedded in CNS




(Marcus, 2000)
   Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 49 of 73. PageID #: 139713




Guidelines and Prescribing Principles
         for Opioid Therapy
       Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 50 of 73. PageID #: 139714




Chronic Pain: Prevalence and Impact

• 35% of Americans have chronic pain
• >50 million Americans are partially or
  totally disabled by chronic pain
• 50 million lost work days per year
• $65 to $75 billion per year cost to
  society in lost productivity and
  medical costs


 (APS, 1999)
        Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 51 of 73. PageID #: 139715




Survey of Chronic Pain in America
 In a survey of 805 patients with chronic pain lasting >6
 months rated at 5/10, suffering from arthritis, back disorder,
 other causes:
 • 56% had chronic pain for more than 5 years
 • 22% were referred to a pain specialist
 • 47% changed physicians at least once for one or more of
   these reasons:
    – Patient experienced “too much pain” (42%)
    – Physician lacked pain-management knowledge (31%)
    – Pain was not taken seriously by physician (29%)
    – Pain was not treated aggressively (27%)
 • 14% went to the ER 1+/yr
 • 29% switched physicians >3 times

(APS, 1999)
       Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 52 of 73. PageID #: 139716

Chronic Pain is Under-Treated Despite
Availability of Effective Pain Therapies

• More than a third of patients undergoing
  therapy for cancer—and 60% to 90% of
  those with advanced malignancy—report
  significant pain
• Large segments of the cancer
  population—in particular, elderly patients
  in nursing homes, minorities, and
  women—receive inadequate palliative
  therapy

 (Foley, 2000)
         Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 53 of 73. PageID #: 139717



WHO Guidelines for Cancer Pain

                 Goal
                                                     • Step 3: Opioids for
    Freedom From Pain                                  moderate to severe pain
                                                       +/- nonopioid +/-
                                                       adjuvant therapy
              STEP 3

                                Pain Persists        • Step 2: Opioids for mild
                                                       to moderate pain +/-
                                                       nonopioid +/- adjuvant
              STEP 2                                   therapy

                                Pain Persists
                                                     • Step 1: Nonopioid +/-
                                                       adjuvant therapy
              STEP 1

 (Adapted from Portenoy, 1997)
   World Health Organization. Switzerland; 1990.
      Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 54 of 73. PageID #: 139718

AAPM/APS Consensus Statement on
Opioid Use

The consensus statement on The Use of Opioids
for the Treatment of Chronic Pain, approved by
the American Academy of Pain Medicine and
the American Pain Society in 1996, states that
“efforts to stop diversion should not interfere
with prescribing opioids for pain management.”
This is consistent with the law and mission of
federal and state regulators.




(Amer Acad Pain Med; Amer Pain Soc, 1996)
        Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 55 of 73. PageID #: 139719

 JCAHO Standards Mandate Pain
 Management
• The patient's right to pain management is respected and
  supported.
• The organization plans, supports, and coordinates activities
  and resources to assure the pain of all individuals is recognized
  and addressed appropriately. This includes:
   – Initial assessment and regular reassessment of pain
   – Education of relevant providers in pain assessment and
     management
   – Education of patients, and families when appropriate,
     regarding their roles in managing pain as well as the
     potential limitations and side effects of pain treatments
   – Communicating to patients and families that pain
     management is an important part of care
  http://www.jcaho.org/standards_frm.html
         Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 56 of 73. PageID #: 139720

Promoting Pain Relief and Preventing Abuse of
Pain Medications: A Critical Balancing Act
 A Joint Statement from 21 Healthcare Organizations and
 the Drug Enforcement Agency - October 23, 2001

• Undertreatment of pain is a serious problem in the United
  States, including pain among patients with chronic
  conditions and those who are critically ill or near death

• Effective pain management is an integral and important
  aspect of quality medical care, and pain should be treated
  aggressively

• For many patients, opioid analgesics – when used as
  recommended by established pain management guidelines –
  are the most effective way to treat their pain, and often the
  only treatment option that provides significant relief

http://www.usdoj.gov/dea/pubs/pressrel/pr102301.html
       Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 57 of 73. PageID #: 139721

Physician-Related Barriers to
Pain Management
  A survey of 897 physicians with patient-care
  responsibilities in a network of oncology institutions
  yielded these responses:
• 12% rated their medical school pain education as excellent
  or good
• 86% believed patients in their practices were
  undermedicated for pain
• 61% cited reluctance to prescribe opioids as a barrier to
  pain management in their own practices
• 31% wait until the patient’s prognosis is <6 months before
  prescribing maximal analgesia
• 18% cited concern about “regulatory issues” as a barrier to
  pain management

   (Von Roenn JH, 1993)
        Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 58 of 73. PageID #: 139722

The Controlled Substances Act
Supports Appropriate Opioid Therapy


• A lawful and valid prescription of a Controlled
  Substance must be:
      - for a legitimate medical purpose
          - by an individual practitioner
          - in the usual course of professional practice




Adapted from United States Department of Justice: Drug Enforcement
Administration: Controlled Substances Act [21 C.F.R. 1306.04(a)].
         Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 59 of 73. PageID #: 139723

 The FSMB Model Guidelines:
 Documentation is Your Best Protection
1. Patient Evaluation: Complete medical history/physical exam.
2. Patient Education: On proper use, side effects, risks, benefits.
3. Treatment Plan: Written treatment objectives and plan.
4. Informed Consent & Agreement for Treatment: Written
   agreement may include urine/serum screenings, number of Rx
   refills, reasons for discontinuing drug therapy.
5. Monitoring: Treatment compliance, goal attainment.
6. Consultation: Possible referral for additional evaluation and
   treatment.
7. Medical Records: Accurate and complete records.
8. Comply with the Controlled Substances Laws and Regulations:
   See DEA Physician’s Manual and state regulations.

 (FSMB of US, 1998)
 Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 60 of 73. PageID #: 139724




Implementing the Guidelines for
   Opioid Pharmacotherapy
        Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 61 of 73. PageID #: 139725




Safe and Effective Duragesic Prescribing                                ®




• Single prescriber takes primary responsibility
   – Working knowledge of published guidelines (WHO, AHCPR, APS)
   – Documentation (tracking prescribing)

• Prescribing principles
   – Patient selection
   – Drug selection
   – Dose to optimal effect
   – Manage side effects
   – Manage the poorly responsive patient
   – Learn principles of addiction medicine sufficient to monitor drug-
     related behavior and assess aberrant behavior
   – Educate patient and caregiver


 (1. WHO, 1997; 2. Jacox, 1994)
        Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 62 of 73. PageID #: 139726




Safe and Effective Duragesic Prescribing                               ®




The Goal: To relieve a patient’s pain sufficiently
to support a return to “life uninterrupted”
by chronic pain to the extent possible for that patient

The Process: The Four “A’s” of Pain Treatment
1. Analgesia (pain relief)
2. Activities of Daily Living (psychosocial functioning)
3. Adverse effects (side effects)
4. Aberrant drug taking (addiction-related outcomes)

The Result: Document the 4 A’s so that your charting
defends your prescribing

(Passik & Weinreb, 2000)
        Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 63 of 73. PageID #: 139727

Positive Outcomes in Pain Management:
Analgesia and Activities of Daily Living
• Document pain status:
   – Use 1 – 10 Numerical Pain Relief Scale (NPS)
   – Visual Analog Scale for Pain Intensity (VAS)
• Set goals related to ADLs:
   – Physical functioning
   – Mood
   – Family relationships
   – Social relationships
   – Sleep patterns
   – Overall functioning
• Document BOTH pain relief and progress toward ADL goals


(Passik, 1998)
         Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 64 of 73. PageID #: 139728

Positive Outcomes in Pain Management:
Adverse Events

Plan ahead to avoid adverse events and
improve pain management outcomes:
   – Inform patients about the possibility of side
     effects and that some may resolve after a few
     days
   – Encourage patients to alert your staff about
     any uncomfortable side effects
   – As with all opioids, patients should be warned
     about the possibility of respiratory depression

(Passik, 1998)
Issues That Complicate Opioid
     Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 65 of 73. PageID #: 139729



Prescribing
• Physician-patient agreement
• Fear of iatrogenic addiction
• Differentiating addictive vs other
  aberrant behaviors
• Management strategies for patients
  with substance abuse-related problems
• Concern over regulatory scrutiny and
  ability to identify those who are seeking
  opioids for non-medical reasons
  (diversion, sale, recreation)
      Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 66 of 73. PageID #: 139730




The Physician-Patient Agreement
• Build trust by using a patient agreement that
  defines what behaviors constitute responsible drug-
  taking:
  – Get medicine from only one prescriber and one pharmacy
  – Take medications only as prescribed
  – Refills for lost medicine cannot be given by staff or over
    the phone but require a visit to the prescribing physician
  – Do not take other non-prescribed medications or share
    your medications with others
  – Keep all appointments, including those with other
    professionals (psych, PT, marriage counselor)
  – Set and progress toward goals that improve your life
  – Specify the possibility of random urine screens. If illicit
    drugs are identified, note that police will be notified
          Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 67 of 73. PageID #: 139731

 Assess the Risk of Iatrogenic Addiction
 or Aberrant Behavior in Each Patient
   The potential for addiction is in the patient, not the opioid.



                                                                              ~ 45%
                                                                               HIGH
  <1%                                                                        Long-term
                                                                            exposure to
   LOW                                                                       opioids in
Short-term                                                                    addicts2
exposure to
 opioids in
non-addict1             Where is your patient?

(1. Porter, 1980; 2. Dunbar,1996; 3. Adapted from Passik,1998)
          Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 68 of 73. PageID #: 139732

 Where is Your Patient on the
 Addiction/Abuse Spectrum?
• Pain treatment plans are based on where your patient
  is on the addiction potential spectrum
• Addictive behavior occurs in a significant proportion of
  the US population, which may be reflected in your
  practice:
       – 6.3% use illicit drugs
       – 3.5% are dependent on illicit drugs
       – 20.6% abuse alcohol (reported binge drinking)
       – 29.3% use cigarettes


 (Substance Abuse and Mental Health Services Administration, 2001)
         Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 69 of 73. PageID #: 139733

Differential Assessment of
Aberrant Behavior
   PHYSICAL DEPENDENCE: Pharmacologic effect characteristic of
   opioids; withdrawal or abstinence syndrome manifest on abrupt
   discontinuation of medication

  TOLERANCE: Pharmacologic effect characteristic of opioids; need to
  increase dose to achieve the same effect or diminished effect from
  same dose

  PSEUDO-ADDICTION: Pattern of drug-seeking behavior of pain
  patients receiving inadequate pain management that can be mistaken
  for addiction; resolves with reestablishing analgesia

  ADDICTION: A chronic, relapsing condition resulting from many
  complicated influences including chemical, genetic, familial and social
  factors

  CHEMICAL COPING: Behavior bears a resemblance to addiction
  because pill-taking is inappropriately used to manage stress

(1. Portenoy, 1997; 2. Weissman, 1989)
          Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 70 of 73. PageID #: 139734

Behaviors That Raise Suspicion of
Addiction/Abuse
  Probably more predictive                                 Probably less predictive
• Selling prescription drugs                          • Aggressive complaining about
• Prescription forgery                                  need for higher doses

• Stealing or borrowing another                       • Drug hoarding during periods of
  patient’s drugs                                       reduced symptoms

• Injecting oral formulation                          • Requesting specific drugs
• Obtaining prescription drugs                        • Acquisition of similar drugs from
  from non-medical sources                              other medical sources
• Concurrent abuse of related                         • Unsanctioned dose escalation 1 –
  illicit drugs                                         2 times
• Multiple unsanctioned dose                          • Unapproved use of the drug to
  escalations                                           treat another symptom
• Recurrent prescription losses                       • Reporting psychic effects not
                                                        intended by the clinician
 (Portenoy, 1997)
      Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 71 of 73. PageID #: 139735

Treatment Plans To Reduce Risk in
Patients With Higher Abuse Potential
 • Select opioids with lower abuse potential
 • Have patients sign written contracts
    –Use contract as a teaching tool, informed consent
 • Schedule frequent clinic visits
 • Prescribe small quantities of medications
 • Renew prescriptions contingent upon clinic
   attendance
 • Use 12-step programs where possible
 • Consider urine toxicology screens
 • Involve family in treatment planning
 • Document all concerns
 • Refer to addiction specialist
 Protect Your Practice:
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 Use the Guidelines
• JCAHO: Joint Commission on the Accreditation of Healthcare
  Organizations www.jcaho.org
• APS/AAPM: American Pain Society/American Academy of Pain
  Medicine www.ampainsoc.org
• NCCN: National Cancer Care Network www.nccn.org
• WHO: World Health Organization www.who.int
• FSMB: Federation of State Medical Boards of US
  www.fsmb.org
• DEA www.usdoj.gov
• Federation of State Medical Boards of the US www.fsmb.org
• Pain & Policy Studies Group, University of Wisconsin – State
  regulations www.medsch.wisc.edu/painpolicy
       Case: 1:17-md-02804-DAP Doc #: 1960-71 Filed: 07/23/19 73 of 73. PageID #: 139737




Summary: Opioid Prescribing Principles

• When prescribing Duragesic for chronic pain,       ®



  follow established principles and guidelines for
  opioid prescribing

• Monitor and document the Four A’s

• Be alert for the signs of the rare drug abuser or
  diverter

• Seek consultation when appropriate
